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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION

 RowVaughn Wells,

                        Plaintiff,
                                                     Case No. 2:23-CV-02224
        v.
                                                     JURY DEMAND
 The City of Memphis et al.,

                        Defendants.


   PLAINTIFF’S MOTION TO SEAL PORTIONS OF CITY’S FILING (ECF No. 230)
                  THAT RISK HARMING MINOR CHILD

       Plaintiff RowVaughn Wells, through her counsel, moves to seal portions of the City of

Memphis’s Motion for Leave to File Supplemental Response in Opposition to Plaintiff’s Motion

for Protective Order (ECF No. 230) (the “City’s Motion”) to prevent a risk of harm to Mr. Nichols’

minor child. The Court has already removed the City’s filing from the public docket, which

Plaintiff assumes is the Court’s interim measure while the parties brief the issue. For the reasons

explained below, any portions of the City’s Motion (and any portions of past or future filings) that

refer to Mr. Nichols’ child or the child’s mother should be sealed.

       1.      On November 11 through November 13, 2024, the City of Memphis (“City”) took

the depositions of several non-parties, including the mother of Mr. Nichols’ minor child,



       2.      On November 15, 2024, the City filed its Motion for Leave to File Supplemental

Response in Opposition to Plaintiff’s Motion for Protective Order (ECF No. 230).




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        3.       The City’s Motion publicizes for the first time the identity of the minor child’s

mother and personal details about her and her family that jeopardize the safety and well-being of

the minor child, as well as the safety and well-being of the mother and her other minor children. 1

        4.       For example, the City’s Motion publicly discloses the mother’s receipt of a large

amount of money and discloses other salacious details about her relationship with Mr. Nichols.

        5.       As the administrator of Mr. Nichols’ estate, Plaintiff has a fiduciary duty to protect

and serve the interests of the minor child

        6.       The Plaintiff is gravely concerned that the City’s public filing has endangered the

minor child and, if not sealed, will continue to pose a serious risk of harm to the child. While the

City’s motion does not identify the child by name, it would not be difficult, with internet searching

and the like, to identify the family’s address and likely the child’s identity based on the information

the City disclosed. The public disclosure of the mother’s identity and personal details compromises

the privacy and safety of the minor child and creates a needless risk of harassment or other harm

to the minor child and the child’s family. These are precisely the concerns that underlie Federal

Rule of Civil Procedure 5.2(a), which requires the redaction of any minor’s name.

        7.       Due to these concerns, when facts related to                                               were

raised during the recent deposition, Plaintiff’s counsel, as well as various defense counsel, and the

mother’s attorney all stated that portions of the transcript need to be sealed, redacted, or otherwise

protected. Those discussions were ongoing when the City’s Motion was filed.



        1
          The City’s Motion is the first filing in this case that draws public attention to the mother’s identity.
To Plaintiff’s knowledge, there is one prior filing by the City (ECF No. 217-1) that included a passing
reference to her name as the mother of Mr. Nichols’ son, in the context of paraphrasing one of the City’s
requests for production. There are three other filings (ECF Nos. ECF 211-2, 217-3, and 217-5) where the
mother’s name was buried in exhibits, but with no disclosure identifying her as the mother of Mr. Nichols’
son, much less any disclosure of any personal or financial information. Unlike the City’s recent motion,
none of these prior filings caused the mother of Mr. Nichols’ son to receive any media attention.

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       11.                                                           to protect against the significant

risk of harm explained above, compelling interests justify sealing any portions of the City’s Motion

that refer to Mr. Nichols’ child or the child’s mother and ordering that any references to them be

redacted from any prior or future public filings in this Court. See, e.g., Jane Doe v. Teays Valley

Local Sch. Bd. Of Edu., No. 2:23-CV-02704, 2024 WL 3841212, at *2 (S.D. Ohio Aug. 15, 2024)

(“[T]here is [] a compelling interest in sealing portions of documents that refer to [the minor child]

by his initials when those initials may be used to ascertain his identity, and in sealing portions of

documents that contain his or his parents’ personally identifying information.”). The requested

relief is narrowly tailored to serve the compelling interests of protecting the privacy, safety, and

wellbeing of the minor child and the child’s mother. See id.; Finley v. Kelly, No. 3:19-CV-00129,

2019 WL 13195859, at *1 (M.D. Tenn. Apr. 18, 2019) (sealing portions of document that “contains

private facts and personal information about the [movants] and their family members, including

their minor children”). Additionally, the interests in protecting the minor child and the child’s

mother far outweigh any value of public disclosure, because the City had no legitimate purpose

for exposing the son’s mother in its Motion, as explained in detail in Plaintiff’s Response to the

City’s Motion (ECF No. 232).

       12.     Plaintiff’s counsel has consulted with the mother’s counsel, and she is in agreement

with the relief requested in this motion.

       WHEREFORE, for the reasons stated above, Plaintiff respectfully requests that the Court

seal any portions of the City’s Motion (ECF No. 230) that refer to Mr. Nichols’ child or the child’s

mother and order that any reference to the mother or the child be redacted from any prior or future

public filings. In addition, Plaintiff respectfully requests that the Court file this Motion under seal




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                                                            with a redacted version to be filed on

the Court’s public docket.



Dated: November 17, 2024                             Respectfully submitted,



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Attorneys for Plaintiff, RowVaughn Wells,
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                                 CERTIFICATE OF SERVICE

         I, Antonio M. Romanucci, hereby certify that on November 17, 2024, I caused the forgoing

to be electronically filed with the clerk of the court by using the CM/ECF system, and that upon

filing, such system will serve a copy of the foregoing upon all counsel of record in this action, and

that Plaintiff’s counsel served an unredacted version of the foregoing to all counsel of record via

email.


                                                      /s/ Antonio M. Romanucci
                                                      Antonio M. Romanucci




                             CERTIFICATE OF CONSULTATION
         Pursuant to Local Rule 7.2(a)(1)(B), the undersigned hereby certifies that on November

15, 2024, counsel for the Plaintiff consulted with counsel for the City via email, and Counsel for

the City stated that the City opposes the relief requested in this motion.

                                                      /s/ Antonio M. Romanucci
                                                      Antonio M. Romanucci




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